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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                   :
IN RE: PHILIPS RECALLED CPAP,      :   Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL       :
VENTILATOR PRODUCTS                :   MDL No. 3014
LITIGATION                         :
                                   :   (Oral Argument Requested)
This Document Relates to:          :
                                   :
All Actions                        :
                                   :




       KONINKLIJKE PHILIPS N.V.’S RENEWED REPLY MEMORANDUM
                 IN FURTHER SUPPORT OF ITS MOTION
           TO DISMISS FOR LACK OF PERSONAL JURISDICTION




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                                PRELIMINARY STATEMENT

       Plaintiffs’ fundamental fight is against the bedrock legal principle that “[t]he

parent-subsidiary relationship itself is not sufficient to establish in personam jurisdiction over the

parent entity.” In re Enterprise, 735 F. Supp. 2d 277, 317 (W.D. Pa. 2010). To avoid this black-

letter rule, Plaintiffs’ jurisdictional arguments present this Court with an ever-moving target. In

the beginning, before Koninklijke Philips N.V. (“KPNV”) filed its Rule 12(b) motions, Plaintiffs

used “group pleading” to pretend that KPNV directly had some role in the design and manufacture

of Philips RS North America LLC’s (“Philips RS”) devices. Plaintiffs lumped KPNV into a group-

pled “Philips,” a defined term they used to refer to all Philips Defendants (including Philips RS).

After this Court chided Plaintiffs for their “sloppy” pleading, Plaintiffs could no longer sidestep

their inability to plead specific, direct jurisdiction over KPNV through group pleading. Because

KPNV did not design or manufacture the recalled devices (critical points because Plaintiffs’

underlying products liability claims require such conduct), Plaintiffs then told the Court they were

all-in on an alter-ego theory of personal jurisdiction. Why? Because this was Plaintiffs’ only way

to impute Philips RS’s design and manufacture of the devices to KPNV.

       For the past nine months (well past the 45-day period ordered by the Court), Plaintiffs have

asked for and received more-and-more jurisdictional discovery as they have advanced one flawed

whack-a-mole jurisdictional theory after another. But that discovery only underscored (a) the

extensive corporate formalities observed by KPNV, Philips RS and the other Philips Defendants,

and (b) that KPNV did not “control[] the day-to-day operations of [Philips RS] such that [Philips

RS] can be said to be a mere department of [KPNV].” Enterprise, 735 F. Supp. 2d at 318. When

discovery did not help them, Plaintiffs enlisted the help of two “experts” to argue that Philips RS

could not have been run as a standalone business because of the absence of documents Plaintiffs
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never sought. But after those materials were produced, and Plaintiffs’ experts conceded there was

no evidence of any disregard of the corporate form, Plaintiffs have all but abandoned their experts.

        So, time for Plaintiffs’ next pivot. Relegating the alter-ego theory to the back of their latest

brief, Plaintiffs now argue that KPNV, a Dutch holding company, is subject to specific, direct

personal jurisdiction, purportedly based on KPNV’s own contacts with the forum states. In coming

full circle, Plaintiffs run into the same brick wall that they sought to avoid when they first advanced

an alter-ego theory: KPNV, as a parent, is not liable for the design and manufacturing conduct of

its subsidiaries, so their claims against KPNV must fail on the merits. See United States v.

Bestfoods, 524 U.S. 51, 61 (1998). Plaintiffs’ latest flip-flop back to specific, direct jurisdiction

closes the very escape-hatch they needed (i.e., alter-ego) to state some merits claim against KPNV.

        Plaintiffs’ ever shifting positions are all for naught. Other than the negligent recall cause

of action (which KPNV has conceded personal jurisdiction on in Pennsylvania), no specific, direct

jurisdiction exists over KPNV in Massachusetts or Pennsylvania on Plaintiffs’ claims. Plaintiffs

now argue that the use of business segments, grouped together by product lines to create

efficiencies, somehow overrides the clear respect for the corporate form followed by the Philips

Defendants and conceded by Plaintiffs’ experts. But this theory was doomed from inception: as

Plaintiffs’ experts agree, segments are “                                                     ” and are

not “                                                         .” (DX022, at 86, 117; DX023, at 66.)

Plaintiffs then cling to reporting lines and organizational charts as a panacea. But as this Court

has already told Plaintiffs, “[w]hat’s important is not necessarily who was reporting to who.”

(Aug. 8 Hearing Tr. at 47.) Plaintiffs needed to show “[w]hat [KPNV] actually d[id].” (Id.) After

nine months of jurisdictional discovery, Plaintiffs still have failed to point to any instance of KPNV

directing, let alone pervasively controlling, the day-to-day operations of Philips RS.




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       Worse still, Plaintiffs now seek to transform conduct designed to respect the corporate

form, including corporate minutes, an array of intercompany agreements, and extensive financial

records, into a basis to assert direct personal jurisdiction over KPNV. The primary directive when

KPNV acquired Respironics in 2008 was to let management continue to successfully run its

business, but KPNV took steps to integrate Philips RS through various intercompany agreements.

Plaintiffs attempt to transform these agreements into jurisdictionally relevant contacts, suggesting

that simply because Philips RS and Philips NA are in Pennsylvania and Massachusetts, KPNV is

subject to specific jurisdiction in those states. But those agreements (governed by Dutch law) do

not contemplate that KPNV would provide any services, into those forum states or otherwise.

Plaintiffs simply fail to point to a single jurisdictionally relevant contact between KPNV and any

of the forum states.

       Finally, with respect to Plaintiffs’ negligent recall claim, KPNV has already conceded

jurisdiction in Pennsylvania, because that is where the affiliate that needed KPNV’s direct help

(Philips RS) is headquartered. Philips RS issued a global recall involving approximately 15

million devices, and since 2021, KPNV has been providing oversight and guidance to its subsidiary

in need. None of that transforms that assistance into some sort of alter-ego relationship; Philips

RS has managed the day-to-day execution of the recall and its own ongoing business operations.

       Plaintiffs’ constant moving targets have wasted the Court’s and the parties’ time, but as

this Court has stated, “[if] there’s no jurisdiction, there’s no jurisdiction.” (Aug. 8, 2023 Hearing

Tr. at 8.) “[I]t has to come to an end.” (Id.)

              EVIDENCE DEVELOPED IN JURISDICTIONAL DISCOVERY

       A.      The Structure and Organization of KPNV

       KPNV is a Dutch holding company (a naamloze vennootschap, or “N.V.”), headquartered

in Amsterdam. It is the ultimate parent of the various subsidiaries in the Philips Group, which is


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comprised of nearly 300 companies participating in a wide range of industries in over 100

countries. (JX234, at 23, 83, 117.)1 From 2008 (when KPNV acquired Respironics) to the present,

KPNV has had between 20 and 30 directors or officers at any given time. (JX015 (No. 18).)

During this same period, the Philips Group companies employed between 74,000 and 121,000

employees globally. (E.g., JX234, at 59; JX239, at 21; JX242, at 55.)

       KPNV utilizes a two-tiered board structure, consisting of a Board of Management and a

Supervisory Board—each of which answers ultimately to KPNV’s shareholders. (JX234, at 117.)

KPNV’s Board of Management, which consists of the CEO, CFO and General Counsel, is

responsible for managing the Philips Group, and certain key officers are selected to support it in

fulfilling this duty. (Id.) Together, the Board of Management and those key officers constitute

KPNV’s Executive Committee. (JX234, at 117.) The Board of Management and Executive

Committee are, in turn, overseen by the Supervisory Board, which is responsible for the “policies,

management and general affairs of Philips, and assists the Board of Management and the Executive

Committee with advice on general policies.” (Id. at 118; see JX248, at 1-3.)

       B.      The Philips Group

               1.     Parent/Subsidiary Structure

       KPNV’s subsidiaries run their own day-to-day operations, but as with any multinational

company with multiple subsidiaries, KPNV, as the ultimate owner, receives periodic performance

updates, not only for its own governance purposes, but because KPNV is a publicly held company

with disclosure obligations. Even though KPNV sets generalized group-wide policies, it leaves




1
       See, e.g., JX235, at 149-50 (listing the Philips Group’s “material subsidiaries” for 2020);
JX238, at 128 (same for 2017); JX240, at 127-28 (same for 2015).


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the day-to-day operations and specific details to its subsidiaries and their management, which have

particular expertise and experience within their respective industries and markets.2

       KPNV’s subsidiaries are active in a wide range of industries, many of which are regulated.

(E.g., JX234, at 23.) With the exception of the subsidiaries that operate as holding companies, the

individual subsidiaries employ and support their own employees, have their own management

teams, 3 directors and officers, 4 pursue their own business ventures 5 and acquisitions, 6 actively

monitor their own finances and internal controls,7 accrue their own assets and liabilities,8 operate

under their own governing bylaws,9 and design and manufacture their own products,10 among

other things. These individual subsidiaries also regularly monitor their own financial health,

operations, and quality controls.11 Tellingly, after reviewing thousands of pages of jurisdictional

discovery, Plaintiffs’ experts confirmed that they “

                            ”12


2
       E.g., JX022, at 16; JX242, at 69; JX240, at 62; JX238, at 34; JX236, at 20; DX009, at 62,
91-93, 95-97, 99-100, 112, 115.
3
       E.g., DX010, at 3-4 (
                                                                           ”).
4
       E.g., JX041 (list of officers, managers and directors of Philips RS since 2008).
5
       E.g., DX011; DX012.
6
       E.g., DX013; DX014; DX015; DX016.
7
       E.g., JX421 (example of embedded financials reviewed at Philips NA’s monthly trial
statement review); JX422 & JX423 (same for Philips RS).
8
        JX113 (Philips RS’s balance sheet, income statement, and other financial information for
fiscal years 2008–2022); JX115 (same for Philips NA).
9
      E.g., DX001 (bylaws of Respironics as of March 14, 2008); JX302 (same for Philips
Holding USA).
10
       E.g., JX156, at 1; JX 157, at 29; JX158, at 21; JX159, at 163-64.
11
       E.g., JX099; JX113; JX115; DX009, at 91, 93, 110, 130-31.
12
       DX022, at 117 (Garbe); see also DX023, at 13 (Dundon:



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          Philips RS is no different. Located in Pennsylvania, until it converted into an limited

liability company in 2020, Philips RS was governed by its own Board of Directors,13 which meets

quarterly and, since 2017, has included an independent director. (DX001, at 5; JX282, at 7; JX283;

JX020, at 1.) Philips RS now has members. (DX047.) No one from KPNV has ever served as a

member of Philips RS or sat on Philips RS’s Board. (See JX133.) Nor has anyone from KPNV

ever been an officer of Philips RS. (Id.) Philips RS has its own internal functions to monitor its

own operations, including marketing, human resources, engineering, strategy and business

development, and quality. (JX301, at 14; see also JX397; JX405.) In fact, that the foam quality

issues underlying this litigation were unknown to KPNV for years was specifically attributed in

part to                                   (JX374, at 38.) With regards to operations and finance,

the individual managers of Philips RS conduct monthly meetings to review its financial condition.

(DX002, at 97-101.)14 Records from these meetings are recorded in minutes, which are audited

by an outside accounting firm. (Id.)

          In addition, Philips RS’s management receives regular updates on finance and internal

controls. For example, Philips RS’s management regularly monitors accruals, ensuring that

purchase orders are closed out upon completion. (DX003; DX004.) This includes an account of

debits and credits for individual purchase orders. (Id.) Additionally, Philips RS’s management

                                                                     . (DX005; DX006.)15 Philips

RS’s management also monitors internal controls quarterly. (DX007; DX008.)



13
          E.g., JX020; JX276; DX014; DX017. So too is Philips NA. (DX018.)
14
          See, e.g., JX422; JX 423. Philips NA’s leadership does the same. (E.g., JX421.)
15
        For purposes of record keeping, each entity in the Philips Group is assigned an
“organizational reporting unit” number (“ORU”) to account for each entity’s operations and tax
obligations. (JX392, at 28, 31, 42-43, 48, 57-58.) Multiple ORUs can “roll-up” into their parent
company’s ORU, but each entity maintains its own unique ORU. (Id. at 42-43, 48.) ORUs in the


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       Philips RS has its own account and cash balance through the Philips Group’s centralized

banking system, known as the In-House Bank (“IHB”), which is governed by an intercompany

agreement. (JX263; see also JX264.)16 Philips RS’s IHB account balance is credited, or debited,

according to the specific transactions it conducts with third parties or affiliates. The governing

agreement “



                                                               . (JX263, at 6, 15.)

               2.     Company-Wide Policies and Intercompany Agreements

       To lower costs, permit operating efficiencies, monitor risk, and ensure legal compliance

(including tax-compliant allocations supporting transfer pricing), the Philips Group companies

transact and negotiate arm’s-length agreements with each other, including with KPNV. In

addition, when it comes to policies, KPNV insists upon certain minimum basic standards that apply

group-wide, with specific standards to be created, instituted and overseen at the local level. A

paradigmatic example is Quality & Regulatory (“Q&R”), as discussed further below.

                      a)      Philips Group Policies

       One strategy KPNV uses, as an owner, to manage risk and encourage operating efficiencies

is group-wide policies that set high-level goals and minimum corporate standards. One example

is the Philips Business System (“PBS”),



U.S. report their finances on a consolidated basis at the PHUSA level. (JX116-JX126, JX406-
JX413.)
16
        Pursuant to Payment Factory Agreements with its various affiliates, KPNV provides a
centralized banking system for ease of accounting, debiting/crediting, and financing intercompany
and external transactions. (JX127, at 2; JX263, at 10-11.) The reason is driven by basic business
logic: banking with KPNV (as opposed to a third-party bank) ensures a lower cost of financing
and higher interest income, which is beneficial to the local subsidiary. (JX127, at 2.) It also
enables affiliates to more easily conduct transactions with each other and with third parties,
especially foreign transactions in other currencies. (JX263.)


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      . (JX024, at 3; JX005, at 3, 7.) By design, the PBS does not broach matters that are specific

to any particular entity’s day-to-day operations, business models, or industries. Instead, the PBS

(instituted in 2012) addresses the concern that the “

                             ,” which was “                                             .” (JX249, at

1.)   The PBS was “

                                                               ” (JX024, at 3), and describes the

general           of how Philips Group leaders are to run their organizations (JX250, at 4). The

Executive Committee

                                                 . (JX249, at 2.) This is customary for large

companies. In fact, the Philips Group developed its PBS

                                                               . (JX005, at 4, 28.)17

          Against this unremarkable backdrop, Plaintiffs suggest that the PBS somehow eviscerates

corporate boundaries. (Renew. Br. at 7.) Notably, each of Plaintiffs’ references to an “

                                                                   . (Id. at 7, 22, 46.) Yet, on its

face, the PBS disclaims the “control” Plaintiffs claim exists, recognizing that



                       .” (JX249, at 3 (emphasis added).) What’s more,



                                                                                         . (JX251, at




17
      Ms. Iversen, who worked for General Motors, Johnson & Johnson, Northrop Grunman,
and General Electric, testified that “[m]ost companies have one.” (DX009, at 20, 101-02.)


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2-3.)   The PBS contemplates

                                                                                  .” (Id.)

        Under the general PBS framework, there are other group-wide policies for matters of

general concern. One of Plaintiffs’ favorites is the General Business Principles (“GBP”), which

“                                         .” (JX027, at 3.) The GBP is a code of conduct requiring

that                                                                                . (Id. at 14.)

Because the businesses “                                            ” (JX252, at 5), the GBP also

serves as a risk management tool. (JX235, at 74.) The GBP is designed to be implemented at a

local level by Compliance Officers, who are designated “

               .” (DX019, at 7.) These local Compliance Officers are

                                                           ” (Id.) For Compliance Officers to

“                    ,” they “                                 .” (JX252, at 7.) The GBP Charter

was thus written “                                                     ” (Id.)

                      b)         Quality and Regulatory

        Plaintiffs pretend that Q&R is managed from the top-down on a day-to-day basis by

KPNV’s CEO and Executive Committee. In reality, there is a

                                                               , 18 which is led by a Philips NA

employee who reports to KPNV’s CEO regarding quality issues of particular importance as they

arise.19 But the day-to-day Q&R work is done at the business level, where the subsidiaries and


18
      Contrary to Plaintiffs’ assertions, Q&R is not a Business Unit or a Reporting Segment.
(Renew. Br. at 7.) It is a group-wide function that broadly services all businesses—toothbrushes,
imaging devices, kitchen devices, and medical devices, to name a few. (DX009, at 61-62.)
19
        Liz Iversen was the Head of Q&R from 2014 to 2020, succeeded by Francis Kim. Plaintiffs
have tried to establish KPNV employed Ms. Iversen. To begin with,

        (DX009, at 90, 120.)                                                                  (Id.


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their Q&R teams are tasked with developing, monitoring, implementing, and enforcing Q&R

standards—and detailed Quality Manuals—for the individual businesses.

        Q&R Function. The Philips Group utilizes various functions to streamline skills and

expertise for the benefit of the entire group of companies. (JX024, at 16.) One of these functions

is Q&R, which is a global function that services Philips Group subsidiaries throughout the world.20

The Q&R function is “                                        ” and

                  . (JX371, at 5.) The independent Q&R function provides assistance to local

businesses as particular issues arise, but ultimately “

           ” (Id.) In practice, the various businesses provide updates to the Head of Q&R monthly

or quarterly, or as issues arise. (DX009, at 91-93, 99-100.) But, as the former Head of Q&R

testified last week,

                                                                                             . (Id. at

62.) Just as Q&R

                                                          . (Id. at 62, 91-100.) Instead, the Head of

Q&R                                                                                      . (Id. at 92-

93, 129-30.)

        Group-Wide Quality Policy. One of the Philips Group’s policies under the PBS is the

Quality Policy, a one-page document that provides, in full, as follows:




at 120.)
                                             . (Id. at 119-20.)


                                          (Id. at 130-31.)
20
       Other examples of these group-wide functions are Legal, Audit, Sustainability, and
Security. (JX005, at 9; JX024, at 16.)


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(DX020.) This is the

                         (DX009, at 107.) The real day-to-day work of monitoring quality and

regulatory was at the operating subsidiary levels.

        Business-Level Quality Systems and Manuals. There is no such thing as a generally

applicable “Quality Management System” (“QMS”). (DX009, at 110.) With the number of

regulated industries that the Philips Group participates in, plus the related array of legal and

regulatory demands, each business is

                                                                                                .

(JX374, at 7.) Thus, the “                                .” (Id. at 15.) This allows the various

entities to “

                                                       .” (Id. at 9.)

        Philips RS was, again, no different.

                                                      . (JX301, at 1; DX009, at 112-13.) Philips

RS’s

                                                                                                .

(JX301.) For example,

                                                                                        . (Id. at

37-38.) The

                                                                            .



                                                                        . (E.g. DX021.)




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                  . (DX009, at 113-15, 132.) At any given time,



        . (Id.)



                                                                   .” (Id. at 127.)

                       c)     Intercompany Agreements

       To best make use of the Philips Group’s global resources, the various subsidiaries have

entered into a multitude of intercompany agreements defining their rights and obligations with

respect to KPNV and one another. Payments pursuant to these arrangements “



                              ” (JX253, at 16.)21 Similarly, KPNV




          .” (JX127, at 2; see JX254, at 2; JX255, at 2; JX256, at 3; JX257, at 4; JX258, at 4;

JX259, at 22-23.)

       KPNV coordinates the provision of services to each of its subsidiaries by contracting with

its other subsidiaries that specialize in those particular services. KPNV thus agrees to make

services available to its subsidiaries, including relating to IT, accounting, marketing, auditing,

human resources, and insurance, by separately contracting with its other subsidiaries to provide

those services, to the extent requested by the service-receiving entity. In exchange, the subsidiary

                                                                                            . (E.g.,


21
        When a subsidiary makes a claim for payment for its services provided, that is referred to
as a “counterclaim.”


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JX109, at 1, 10; JX013, at 1, 3-4.) That



                     . (E.g., JX109, at 1, 10; JX260, at 3-5; JX261, at 3, 14-15.) In other words,

as the parent holding company, KPNV does not itself provide any of these services, but rather

facilitates the provision of services from subsidiary to subsidiary by acting as a pass-through.

Plaintiffs misleadingly assert that

                                                                                     ” (Renew. Br. at

20.) They inexplicably omit that KPNV



                            .22

       Separately, KPNV contracts with its affiliates for the use of its “



                    ” (JX011, at 1.) In



                                                                  . (JX011, at 2-3, 6.)

               3.      Reporting Segments and Business Units

       Since filing their last brief, Plaintiffs have suddenly become “shocked, shocked” by the use

of entirely unremarkable “Reporting Segments” and “Business Units” at the Philips Group.

Separate from the parent-subsidiary structure, the Philips Group also organizes its various

businesses into these structures. Why? The approximately 300 subsidiaries that comprise the



22
        For example,                                                     (JX012, at 1; JX262, at 4-5.)
For the benefit of its various other affiliates, KPNV has an
   , pursuant to which
          . Those affiliates
                                                               (E.g., JX012, at 5-7; JX262, at 5-7.)


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Philips Group sell thousands of very different types of products globally, including diagnostic

imaging devices (e.g., x-rays), oral healthcare products (e.g., toothbrushes), emergency care

equipment, personal health products (e.g., shavers), audio products, sleep and respiratory care

products, kitchen appliances, and many others. (JX234, at 15-23.) To comply with the various

applicable legal regimes and create synergies to help meet the needs of different customer bases,

the Philips Group divides the businesses into four main “Reporting Segments”: (1) Diagnosis and

Treatment; (2) Connected Care; (3) Personal Health; and (4) Other. (JX233, at 15.) Each Segment

is, in turn, divided into specific “Business Units” (sometimes called “Business Clusters”) based on

synergistic product lines. (JX024, at 11.) Philips RS’s products—including the CPAP and other

devices at issue in this litigation—fall within the Sleep & Respiratory Care (“SRC”) Business Unit,

which falls within the Connected Care Segment. (JX233, at 18.)23

       Beyond the obvious practicalities of selling similar types of goods through the same

Segments and Business Units, under the International Financial Reporting Standards (“IFRS”),24

reporting financial information at the Business Unit level is required. The IFRS requires that an

“entity shall disclose information to enable users of its financial statements to evaluate the nature

and financial effects of the business activities in which it engages and the economic environments

in which it operates.” (DX041, at 8(1).) To do so, an “entity shall report separate[] information

about each operating segment.” (Id., at 8(11).) Because KPNV is required to provide Business

Unit-level data to the SEC and investors (a point Plaintiffs’ experts concede (DX022, at 86-88)),


23
       None of this should have been surprising to Plaintiffs, as it is all laid out in KPNV’s Annual
Reports. (E.g., JX233, at 15, 17-18; JX234, at 15, 17-18; JX235, at 13, 15-16.)
24
        KPNV is a foreign private issuer under 17 C.F.R. § 240.3b-4(c), and has elected to prepare
its financial statements under IFRS. (JX234, at 62, 126; see S-X Rule 4-01(a)(2); Final Rule:
Acceptance from Foreign Private Issuers of Financial Statements Prepared in Accordance with
IFRS Without Reconciliation to US GAAP, Release No. 33-8879 (Dec. 21, 2007); DX046 (Items
17 and 18); DX022, at 86-88, 117-18.)


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KPNV seeks to ensure that these Business Units perform and are managed efficiently, and this

structure encourages strong Business Unit outcomes (in addition to strong entity-level results).

From a pure operations perspective, the Business Unit structure allows the Philips Group to

“                                           .” (JX024, at 11.) The “



                                                           ” (Id.)

       Contrary to Plaintiffs’ assertions (Renew. Br. at 7), none of this means that corporate

boundaries and legal separateness were eradicated by the simultaneous and complementary

existence of Business Units—as Plaintiffs’ own experts conceded. (See supra at 2.) The

Segment/Business Unit structure complements a subsidiary’s ability to manage its performance by

using a market-specific metric. Viewing the businesses through industry- and product-specific

groupings provides greater insight into performance in particular markets, which is useful where

multiple subsidiaries are selling products in the same Business Unit or where a subsidiary sells

products in multiple markets.25

       For example, seven U.S.-based subsidiaries (including Philips RS) sell products grouped

in the SRC market, such as respirators, humidifiers, and CPAPs.26 Philips RS’s

                                                                      . 27 Given Philips RS’s strong



25
        The Philips Group also operates in 17 “Markets” based on geographic regions through local
marketing subsidiaries, such as Philips NA. (JX024, at 10.) The purpose of the Markets is to
address local needs and foster long-term relationships with customers located in specific regions.
(Id. at 12.) Although the Markets structure is separate from the Business Units, both structures
work together through Business-Market Combinations (“BMCs”). (Id.) These BMCs allow for
“quick decisions that are locally relevant and as close to the customer as possible.” (Id. at 15.)
26
        The other products are listed on pages 3 and 4 of JX301. These U.S. subsidiaries also had
distribution agreements with foreign subsidiaries so that their products could be sold globally. (See
JX279 (example of distribution agreement); JX404 (sources of revenue for global SRC).)
27
       DX026 (see row 2;                                             ).


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representation in the SRC business, Philips RS management has significant involvement in the

SRC business.28 Philips RS’s



                                                                     ” (JX301, at 3, 6.) For similar

reasons,



                     . (DX024; DX025; JX372; JX401-403.)

       C.      Philips RS

               1.      Acquisition of Philips RS

       Before Philips RS—at the time, Respironics, Inc.—was acquired by KPNV, it had been

operating around the world for 24 years. Respironics’ success was a significant factor in KPNV’s

interest. (JX267, JX272.) In 2008, KPNV acquired Respironics for approximately $5.1 billion to

expand into the consumer sleep and respiratory care business. (JX268, at 2; see JX270, at 2

(“Respironics already has a well-established brand in the market . . . .”).) The Respironics

acquisition was, by design, a “bolt on” arrangement. KPNV was specifically interested in the fact

that it would “acquire a very strong and experienced management team.” (JX267, at 4.) To that

end, retaining Respironics’ management was “conditional to this transaction.” (Id.; see JX269, at

9 (“[Respironics] has a strong management team that is critical to the business’ success,” noting

that the transaction would involve offering “retention package[s]” to existing management); id.

(“[R]etention of [Respironics’] key management is a prerequisite for a successful transaction and

will for that reason by (sic) a key condition to come to a transaction with [Respironics].”).)29


28
       For example, David Ferguson (a Philips RS employee) is the Business Leader of SRC.
29
       Twice in their brief, Plaintiffs rely on corporate puffery from a 2016 slide deck that stated
                                                                                ” (JX014, at 5; see


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       KPNV’s plan to integrate Respironics into the Philips Group was simple: leverage

KPNV’s global infrastructure to fuel Respironics’ growth while maintaining Respironics’

independence to sustain its success. (JX269, at 9.) Post-acquisition, Respironics continued to

conduct its business in much the same manner as it had before: it designed, manufactured and sold

its own products to third-party DMEs (who in turn sold those products to consumers), including

the devices at issue in this litigation. (JX156, at 1; JX 157, at 31; JX158, at 23; JX159, at 170-71.)

As jurisdictional (and millions of documents of merits) discovery has confirmed, KPNV had no

role in the design, manufacture or sale of the devices, including the choices regarding foam

selection. (E.g., DX027 (No. 9).)

               2.        Conversion of Respironics, Inc. to Philips RS North America LLC

       In 2020, Respironics, Inc. was converted from a Delaware corporation into a Delaware

limited liability company, renamed Philips RS North America LLC. (JX271, JX282.) As part of

this conversion, Philips RS North America Holding Corp. was created as the holding company

parent for Philips RS. (JX271.) Plaintiffs pretend that the conversion was motivated by a “         ”

to



                    (Renew. Br. at 7.) In fact,

                        .30              further rebutted Plaintiffs’ narrative at her deposition



Renewed Br. at 9, 44.) Even setting aside that this slide was merely describing the fact of the
parties’ merger,

                                                                 (JX374, at 38.)
30
        Under U.S. tax laws, an LLC can be treated as a “disregarded entity” for income tax
purposes, such that its taxable profits can be treated as part of its parent’s taxable profits. (DX027
(No. 12); JX007, at 6 (“[It would] achieve significant tax savings by converting Respironics, Inc.
from a corporation to a limited liability company.”).) Other subsidiaries were converted to LLCs
for the same fundamental reason. (DX027 (No. 13).)


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                                           ” (DX009, at 103.)

                3.      Philips RS’s Recall



        31
             With the

                                                                            . (DX027 (Nos. 10 & 22).)

In 2020, complaints began to increase, and in late 2020, on the basis of limited testing,



                                        . (See DX030, at 4.)




                                              ” (JX329, at 1.)




         . (JX328, at 2-3; JX330, at 2.)




                          . (DX027 (No. 10).) This



                                                                                     . On the back of

these (still preliminary) test results, on April 26, 2021—in an abundance of caution until further



31
       Philips RS                                                                            (JX134,
at 34.) Even as late as
                                                           (JX328, at 3.)


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tests could be completed—KPNV notified the public of “possible risks to users related to the sound

abatement foam.” (JX002, at 2.) Following consultations with FDA, Philips RS initiated a

voluntary recall on June 14, 2021.

         Philips RS’s recall has involved a number of different layers, including designing and

executing a repair and replacement program, interfacing with consumers and DMEs, conducting

additional testing, and communicating regularly with the FDA. Philips RS maintained autonomy

with respect to the decisions. As a few examples:

     


                                                       (E.g., JX096, at 4.)

        Philips RS handled the direct correspondence to patients and DMEs. (E.g., JX136; JX189,
         at 4; DX031; DX032.)

        Philips RS
                 . (DX010, at 2.)

        Philips RS contracted with third parties for recall-related services and supplies. (E.g.,
         DX012; DX033; DX034.)

        Customers from around the world were instructed to send any inquiries regarding the recall
         program—including with respect to returning devices—to a customer services group at
         Philips RS. (DX035, at 47.)32

        The
                    . (See DX040
                                                                                 .)33


32
         Where, however

                   (JX414-JX420.)
33
      The topics included,
       (DX036) and                                                            (DX037).   Philips RS
management

           (DX010, at 3.) Of those calls,
                                                         (See DX027 (No. 20).)


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       Still, Philips RS’s recall is one of the largest medical device recalls in recent history.

Approximately 15 million devices were sold globally over more than a decade, including about 11

million in the United States alone. Given the breadth and scope of the recall, combined with the

additional testing to assess patient safety, Philips RS needed the help of its parent company. As a

parent company, KPNV has provided “

                    .” (JX096 at 3.) KPNV has utilized its global reach to spread Philips RS’s

recall warnings. (E.g., JX004 at 2.) KPNV has also formed



                  ” (JX096, at 3.) Despite Plaintiffs’ attempts to contort the evidence, KPNV’s

support never pervaded or overwhelmed Philips RS’s day-to-day decision-making. (See, e.g.,

JX130, at 11.) But because KPNV has been assisting its Pennsylvania subsidiary with its recall—

and Plaintiffs claim negligence in connection with the recall’s execution—KPNV conceded to

specific personal jurisdiction in Pennsylvania on the negligent recall claim.

                                          ARGUMENT

I.     PLAINTIFFS’ NOVEL AND BELATED PIVOT TO SPECIFIC PERSONAL
       JURISDICTION FAILS.

       Realizing the futility of their alter-ego theory, Plaintiffs claim that KPNV’s alleged

contacts with Pennsylvania and Massachusetts establishes specific personal jurisdiction in those

two states on all their claims. 34     But to satisfy due process, Plaintiffs must prove by a



34
        With respect to the negligent recall claim, Plaintiffs argue that KPNV is subject to personal
jurisdiction in all states. KPNV has already consented to specific personal jurisdiction on that
claim in Pennsylvania. In its opening briefs, KPNV was clear that it conceded jurisdiction in
Pennsylvania only for Count 3 of the Economic Loss Complaint, Count 9 of the Medical
Monitoring Complaint, and Count 6 of the Personal Injury Master Complaint, not Plaintiffs’
“separate and distinct claims.” (See ECF Nos. 914 & 1353.) Particularly given that Pennsylvania
does not recognize a “negligent failure to recall” claim, see, e.g., Cleaver v. Honeywell Int’l, 2022
WL 2442804, at *4 (E.D. Pa. 2022), as distinct from a negligence claim in the execution of a recall,


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preponderance of the evidence that KPNV both “directed [its] activities at residents of the forum,”

and “the litigation results from alleged injuries that arose out of or relate to those activities.”

Burger King v. Rudzewicz, 471 U.S. 462, 472 (1985) (emphasis added). Here, Plaintiffs rely on a

hodgepodge of made-up contacts and repackaged alter ego theories, none of which establishes the

“minimum contacts” necessary to justify the exercise of specific personal jurisdiction over KPNV.

Enterprise, 735 F. Supp. 2d at 308.

       Even more, the purported KPNV-forum “contacts” do not demonstrate the required “strong

relationship among the defendant, the forum, and the litigation—the essential foundation of

specific jurisdiction.” Ford v. Montana, 141 S. Ct. 1017, 1028 (2021) (emphasis added). “When

there is no such connection, specific jurisdiction is lacking regardless of the extent of a defendant’s

unconnected activities in the State.” Bristol-Myers v. Sup. Ct., 582 U.S. 255, 264 (2017); Ford,

141 S. Ct. at 1028 (“[I]n the sphere of specific jurisdiction, the phrase ‘relates to’ incorporates real

limits, as it must adequately protect defendants foreign to a forum.”). “[I]t is not enough that a

defendant’s contacts with a forum relate to the same general subject matter as the claim”; rather,

“the valid exercise of personal jurisdiction requires a meaningful link” between “a legal obligation

that arose in the forum and the substance of the plaintiffs’ claim.” Lloyd v. Retail Eq., 2022 WL

18024208, at *5 (D.N.J. 2022) (emphasis added).35




KPNV’s concession for that one count was not a “waiver as to all claims in Pennsylvania . . . for
the entire 2008-2021 period,” as Plaintiffs now attempt to manufacture. (Renew. Br. at 28).
35
        For similar reasons, Plaintiffs have not established that KPNV is subject to specific
personal jurisdiction for their RICO claim, which is only asserted in the Economic Loss Complaint,
not the Medical Monitoring or Personal Injury Complaints.


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       A.      KPNV Is Not Subject to Specific Personal Jurisdiction in Pennsylvania or
               Massachusetts on the Non-Recall Claims.

               1.      The Intercompany Agreements Do Not Demonstrate that KPNV Engaged
                       in Any Relevant Services or Performed Any Relevant Obligations in the
                       Two Forum States.

       There is no specific jurisdiction over a parent corporation just because its subsidiary is

present in the forum. Enterprise, 735 F. Supp. at 318. Yet, Plaintiffs now claim that the

intercompany agreements, such as the Brand License Agreement and Intra-Group Services

Agreements, are jurisdictionally significant contacts that subject KPNV to jurisdiction in

Pennsylvania and Massachusetts simply because Philips RS and Philips NA are located there.

(Renew. Br. at 19-20; see, e.g., JX011, JX013, JX109.) If that were true, every foreign parent

company that respects the corporate form through arms-length intercompany agreements would

be subject to jurisdiction wherever its affiliates reside for any dispute related to that subsidiary.

Of course, that is not the law. See Mellon Bank v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)

(“The fact that a non-resident has contracted with a resident of the forum state is not by itself

sufficient to justify personal jurisdiction over the nonresident.”); Grand Entm’t v. Star Media, 988

F.2d 476, 482 (3d Cir. 1993) (“[A] contract alone does not automatically establish sufficient

minimum contacts.”); C. States, S.E. & S.W. Areas Pension Fund v. Reimer Express World, 230

F.3d 934, 945 (7th Cir. 2000) (“Parent corporations regularly provide certain services to their

subsidiaries [and] [s]uch parents do not expect that performing these activities may subject them

to liability because of the actions of the subsidiaries. Thus, such standard services are not sufficient

minimum contacts to support the exercise of jurisdiction.”).36


36
       Mellon Bank was a “close case” that “consider[ed] the borders of personal jurisdiction,”
and involved far more contacts with the forum state than here. 960 F.2d at 1219, 1223; see Katz
v. Am. Council, 2021 WL 4551399, at *5 (D.N.J. 2021) (“[T]he court’s characterization of the
Mellon Bank contract as a ‘close case’ suggests that the agreement there reached the outer limits
of what the Third Circuit considers minimum contacts based on contracts.”). In Mellon Bank,


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       Plaintiffs ignore that it is not the existence of a contract, but the “contemplated future

consequences . . . and the parties’ actual course of dealing[] that must be evaluated in determining

whether the defendant purposefully established minimum contacts within the forum.” Burger

King, 471 U.S. at 479. Contractual relationships are not sufficient unless the contracts contemplate

“continuing and wide-reaching contacts[,]” id. at 480, with the forum state, such as “required

regular payments to the forum state” and subjecting the foreign defendant to “exacting regulation

under the forum state’s laws” Katz, 2021 WL 4551399, at *5. And even then, there still must be

a “meaningful link” between those continuing and wide-reaching contacts and “the substance of

the plaintiffs’ claim.” Id.; Lloyd, 2022 WL 18024208, at *5.

       The agreements upon which Plaintiffs rely—all governed by Dutch law—do not subject

KPNV to any continuing contractual obligations, such as the performance of services, in the forum

states. (And even if they did, Plaintiffs have no evidence that any such services were actually

performed in the forum states.) For example, the Brand License Agreement provides that

                                                                  (JX011, at 2.)

                                                                                        . (Id.)

                                                                                       See Katz, 2021

WL 4551399, at *5 (contract did not establish minimum contacts where “contract [] only suggests

a long-term commitment and does not appear to subject [defendant] to [forum state] regulations[,]”




defendants submitted “personal net worth documentation to [a third party Pennsylvania citizen]
. . . in the hope that [the Pennsylvania citizen] . . . would approve the financing that the partnership
sought,” were required to submit monthly payments into Pennsylvania, and negotiated extensions
of payment deadlines and debt restructuring with the Pennsylvania third party. 960 F.2d at 1223.
Plaintiff’s claims there arose directly out of a note “delivered in Pennsylvania.” Id. at 1220. On
these facts, the Court found a prima facie showing of specific jurisdiction, a burden far lower than
Plaintiffs’ burden of proof by a preponderance of the evidence here. Id. at 1223.


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and the services “would occur in various international locations, not the [forum state]”). Also, this

is not an intellectual property case where the brand has any “meaningful link” to Plaintiffs’ claims.

       The Intra-Group Services Agreements also do not contemplate any continuing contractual

obligations or performance by KPNV directed to the forum states.

                                                                                       . (See supra

at 12-13.)

                                  . (Id.) In any event, courts in this Circuit (and others) have

squarely held that the provision of services among affiliated companies does not establish the

requisite minimum contacts. See, e.g., Miller v. EME Homer City Gen., 2013 WL 5972382, at

*13 (W.D. Pa. 2013); C. States, 230 F.3d 934, 945 (7th Cir. 2000).

       The “meaningful link” to Plaintiffs’ claims is missing in any event. Plaintiffs’ claims are

premised on a design choice—i.e., the selection of the specific PE-PUR foam for the recalled

devices—which allegedly exposed them to personal injury or the risk of it. See Martinez v. Union

Officine Meccaniche, 2023 WL 3336644, at *2 (3d Cir. 2023) (explaining in the context of whether

contacts were related to plaintiffs’ claims that the “core characteristics” of a “products liability

claim” are the “design and manufacture of the [device] or any of its parts”).37 But Plaintiffs have

no evidence that KPNV participated in any decisions relating to design, let alone in Massachusetts

or Pennsylvania. At best, Plaintiffs rely on the fact that

                                                                  (Renew. Br. at 20, 26), but this

argument suffers from five fatal flaws: First, as discussed above, KPNV does not actually provide




37
       Plaintiffs rely on O’Connor v. Sandy Lane, which held that tort claims related to
contractual contacts where the defendant breached a social “duty that is identical to a contractual
duty” presented “[s]o intimate a link” as to justify the exercise of personal jurisdiction. 496 F.3d
312, 324 (3d Cir. 2007). No such “intimate [] link” is present or even alleged here.


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any services (marketing or otherwise) under these agreements. Second, the agreements say nothing

about KPNV involvement (or even other affiliates’ involvement) in design choices, such as foam

selection. Third, Plaintiffs point to no evidence that any services actually rendered under the

agreements concerning the recalled devices. See Bristol-Myers, 582 U.S. at 262 (“[S]pecific

jurisdiction is confined to adjudication of issues deriving from, or connected with, the very

controversy that establishes jurisdiction.”). Fourth, even under Plaintiffs’ (factually incorrect)

theory, Philips RS would have paid KPNV, so funds would have been leaving the forum states,

not the other way around. See Katz, 2021 WL 4551399, at *5 (distinguishing Mellon Bank on the

basis that the defendant in that case made “payments to the forum state”). Finally, funds are not

leaving the forum states in any event, because Philips RS’s IHB account balance is simply credited,

or debited, based on the specific transaction at issue. (JX263, at 24-27.)

               2.      Plaintiffs Cannot Meet Their Burden of Proving that KPNV Reached Into
                       Pennsylvania or Massachusetts Through Organizational Charts and
                       Reporting Lines.

       Plaintiffs next hope to show that KPNV had sufficient minimum contacts based on the

“business relationships” it had with Philips RS (apparently a synonym for the “Pennsylvania

market”) and Philips NA (the same for the “Massachusetts market”) by virtue of being their

ultimate parent company. According to Plaintiffs, KPNV subjected itself to jurisdiction in these

states because segments (such as the now-defunct Philips Healthcare) or functions (such as Q&R)

were allegedly “led” (i.e., reported to) at some point by someone from KPNV. ( Renew. Br. at 21-

22.) But for specific jurisdiction, it makes no difference who “led,” “managed” or “helmed” a

particular segment or function, as allegedly reflected on an organizational chart, unless that “who”

(a) had actual contacts with the forum states on behalf of KPNV to justify the exercise of personal

jurisdiction, and (b) there is a “strong relationship” between those contacts and Plaintiffs’ claims.

Ford, 141 S. Ct. at 1028; Hepp v. Facebook, 14 F.4th 204, 208 (3d Cir. 2021) (no specific personal


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jurisdiction where “the alleged contacts do not relate to [plaintiff’s claims]”); Hooper v. Safety-

Kleen Sys., 2016 WL 7212586, at *5 (W.D. Pa. 2016) (alleged contacts “have no connection to the

accident that caused [plaintiff’s] injuries”); O’Connor, 496 F.3d at 317 (defendant must

“deliberate[ly] target[]” the forum states).38

       Plaintiffs have no evidence on either point. In fact, Plaintiffs’ argument essentially seeks

to turn organizational charts with reporting lines – that cross entities and are normal in any large

enterprise – into some suggestion of forum contact. See E.I. du Pont v. Agfa-Gavaert, 335 F. Supp.

3d 657, 672 (D. Del. 2018) (“The simple fact that there are lines on a chart connecting various

persons does not make the request showing that [these individuals] were actually reporting to

[others.]”). Plaintiffs claim that

(pointing only to organizational charts and reporting lines), and



(Renew. Br. at 21-22.) Under Plaintiffs’ logic,                     makes KPNV amenable to suit

in any forum its subsidiaries touch because

                                                   . So bound to this jurisdiction through upwards

reporting theory are Plaintiffs that they fail to point to even a single contact between either

                                                  let alone a contact related to the recalled devices.




38
          Plaintiffs’ cases miss the mark. Plaintiffs do not even argue that KPNV was a “nonresident
manufacturer” whose employees “assist[ed] or even visit[ed] customers of [its product’s] line[,]”
as was the case in Guy Chem. v. Romaco S.p.A., 2009 WL 840386, at *9-11 (W.D. Pa. 2009).
Plaintiffs also have no evidence of KPNV “selling custom [products] to be utilized by [plaintiffs]
. . . in Pennsylvania[.]” EQT Prod. Co. v. Aspen Flow Control, 2020 WL 6545997, at *1 (W.D.
Pa. 2020). And, as explained supra at 24, Plaintiffs have no evidence that KPNV “provided at
least a large portion of the services required under” any contract. Composite v. Am. Intern., 988
F. Supp. 2d 61, 73 (D. Mass. 2013).


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(Id.)39 While Plaintiffs argue that their claims arise out of the “negligent administration of Philips’

Quality Management System” (Id. at 24), Plaintiffs have failed to show even a single contact

                            had with Pennsylvania or Massachusetts concerning Philips RS’s QMS.

Nor could they: as                explained during her deposition,

                         (DX009, at 127.)40 But even worse, not acting by “fail[ing] to prevent and

or fix [] problems”—the basis for negligence—are not “affirmative actions” purposefully directed

toward a forum, and thus are insufficient contacts for specific personal jurisdiction. Hooper, 2016

WL 7212586, at *5; Chlebda v. H.E. Fortna & Bro., 609 F.2d 1022, 1023-24 (1st Cir. 1979) (“[A]n

omission, viz., a failure to act,” cannot “furnish the minimum contact with the state needed to

confer jurisdiction” as “[t]he whole thrust of plaintiff’s claim is that there was no contact at all.”).




39
       At her deposition,

                                                                         (DX009, at 136.)
40
       Plaintiffs demonstrate a basic, and yet fundamental, misunderstanding of the requirements
of specific personal jurisdiction throughout their entire brief. Perhaps one of the most egregious
examples is their heavy reliance

                                     (See JX371; DX009, at 104 (“But by no means did we discuss
SRC.”)).                       is thus “irrelevant to a specific jurisdiction analysis because” it has
“no connection” to Plaintiffs’ claims. Hooper, 2016 WL 7212586, at *5; see O’Connor, 496 F.
3d at 317 (“[T]he defendant must have purposefully directed its activities at the forum [and] the
litigation must arise out of or relate to at least one of those activities.”). Similarly, pointing to a
hodgepodge of SEC filings, resumes and an offer letter, Plaintiffs claim that

                                                                    (Renew. Br. at 21-23.) Again,
Plaintiffs fail to show any conduct taken by these individuals in these roles at all, let alone conduct
targeted at Pennsylvania or Massachusetts, conduct relating to the recalled devices, or decision-
making relating to the selection of the foam. For the same reason, it is of no difference that
        was based in Massachusetts, as Plaintiffs have pointed to no evidence of actions she took
while concerning the recalled devices at all, let alone the selection of the foam.


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               3.      Plaintiffs’ Reliance on Purported Communications Into Pennsylvania
                       and Massachusetts Fails as a Matter of Law.

       As a jurisdictional “hail Mary,” Plaintiffs argue that “Royal Philips’ communications into

Pennsylvania and Massachusetts” establish the necessary minimum contacts. (Renew. Br. at 23-

24.) To begin with, several of the cited exhibits do not involve communications sent by KPNV

personnel but rather are emails to, or emails discussing, KPNV personnel. (See, e.g., JX047-049,

JX058.) Stripping those plainly irrelevant emails out, Plaintiffs are left with just over ten

communications (hardly forum-targeting), all of which are related to the recall or the lead-up to it,

and thus cannot be the basis for specific jurisdiction with respect to Plaintiffs’ claims other than

the negligent recall claim.

       In any event, where courts in this Circuit have found communications to provide a basis

for minimum contacts, the very communications at issue are what gave rise to the suit. See, e.g.,

United Dairy v. Bayshore Indus., 2015 WL 5311297, at *9-10 (W.D. Pa. 2015) (communications

into the forum state were the alleged misrepresentations); Grand Entm’t v. Star Media, 988 F.2d

476, 483 (3d Cir. 1993) (defendant’s “intentional communications gave rise to the underlying

suit”); PPG Indus. v. Jiangsu Tie Mao Glass, 2020 WL 1526940, at *6, *8 (W.D. Pa. 2020) (in a

trade secret misappropriation case, defendant sent “many emails . . . about obtaining [plaintiff’s]

trade secrets”). There is nothing of the sort here.

       B.      The Fact of a Nationwide Recall Does Not Subject KPNV to Jurisdiction
               Across the Nation on Plaintiffs’ Negligent Recall Claim.

       On the negligent recall claim, Plaintiffs lack evidence of any specific contacts with any

state other than Pennsylvania.41 And so, Plaintiffs ask the Court to assume jurisdiction simply


41
      One of Plaintiffs’ most blatant attempts to fabricate a contact is buried in a footnote (see
Renew. Br. at 30 n.15), in which Plaintiffs say tha

                        (Id.) Plaintiffs’ argument is based solely on the fact that


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because KPNV allegedly “has directly overseen and managed” a recall that is “national (indeed

global)” in scope. (Renew. Br. at 28-30.) This is just repackaging the repeatedly rejected legal

argument that a parent company is subject to jurisdiction for the conduct of its subsidiary. (See

infra Section II.) Worse still, Plaintiffs must affirmatively present evidence that KPNV engaged

in “purposeful conduct directed at the forum.” United Dairy, 2015 WL 5311297, at *8 (emphasis

added). Here, however, Plaintiffs point to national efforts (overseen, but not actually executed, by

the parent company), such as “the creation [] of interactive [patient] portal[s]” to register for the

recall. (Renew. Br. at 30.) But none of this targeted any specific state, and “nationally directed

efforts” do “not meet [the Third] Circuit’s requirement of purposeful availment[.]” Shuker v.

Smith, 885 F.3d 760, 780 (3d Cir. 2018); see D’Jamoos ex rel Estate of Weingeroff v. Pilatus

Aircraft, 566 F.3d 94, 104 (3d Cir. 2009) (“[Defendant’s] efforts to exploit a national market

necessarily included Pennsylvania as a target, but those efforts simply do not constitute the type

of deliberate contacts with Pennsylvania that could amount to purposeful availment[.]”).

II.    PLAINTIFFS HAVE NOT MET THEIR HIGH BURDEN OF PROVING
       ALTER EGO.

       For a subsidiary’s jurisdictional contacts to be imputed to the parent, a plaintiff must prove

that the subsidiary was the parent company’s alter ego, a “notoriously difficult burden.” Riad v.

Porsche, 2023 WL 2227692, at *3 (E.D. Pa. 2023). Courts “must start from the general rule that

the corporate entity should be upheld unless specific, unusual circumstances call for an exception.”

Id. “The burden of proof for the application of the alter ego theory rests with the party attempting

to negate the existence of a separate entity.” Reverse Vending. v. Tomra Sys., 655 F. Supp. 1122,




             (JX073-095.) This is hardly a basis for Plaintiffs’ false suggestion that



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1128 (E.D. Pa. 1987).42 Thus, “[P]laintiffs bear[] the burden to prove” by “a preponderance of the

evidence[.]” Carteret Sav. Bank v. Shushan, 954 F.2d 141, 146 (3d Cir. 1992).43

       As in Enterprise, this Court’s inquiry focuses on what evidence Plaintiffs have, if any, that

KPNV controlled and totally dominated the “day-to-day” operations of Philips RS or Philips NA

to such a pervasive extent that those subsidiaries lacked a “separate corporate existence.” 735 F.

Supp. 2d at 324. Ordinary intervention by the parent into the affairs of its subsidiaries is

insufficient: “even if there was control exercised by [a parent] in the context of [one aspect of a

subsidiary], it is not the type of day-to-day dominion that is required to show that they were alter

egos[.]” Copia Comms v. AMResorts, 2017 WL 4012687, at *7 (E.D. Pa. 2017) (emphasis added).

       The Court should also consider the actual corporate forms at issue. Since 2017 and 2020,

respectively, Philips NA and Philips RS have been LLCs. As this Court has stated, “LLC managers

can be granted more direct control over the operations of a limited liability company[,]” and

“limited liability companies are permitted to use an informal management structure.” Enterprise,

735 F. Supp. at 294 n.9. Plaintiffs do not address this point in their brief. As one court explained

in dismissing for lack of alter-ego jurisdiction, “[p]laintiff’s contentions with respect to the

managerial and ownership structure of [the entities] do not account for their designations as


42
       KPNV agrees with Plaintiffs that each relevant transferor court “analyzes alter ego . . . in
substantially the same manner.” (Renew. Br. Table 2.) As a result, KPNV will continue to
primarily cite Third Circuit precedent, just as Plaintiffs did.
43
        Additionally, Plaintiffs must present evidence specific to the “unique relationship”
between the allegedly controlling and controlled companies. Enterprise, 735 F. Supp. 2d at 317.
Plaintiffs principally seek to establish that Philips RS is the alter ego of KPNV. (Renew. Br. at
35.) Yet, Plaintiffs then mix around with the evidence, including by addressing KPNV’s
relationship with Philips NA, and even Philips NA’s relationship with Philips RS. (E.g., id. at 43.)
Each of these relationships is distinct for purposes of the alter ego analysis; in other words, even if
any evidence somehow showed that Philips NA was the alter ego of KPNV (it does not), that
evidence is irrelevant to whether Philips RS is the alter ego of KPNV. See, e.g., Enterprise, 735
F. Supp. 2d at 317; Tatung v. Shu Tze Hsu, 217 F. Supp. 3d 1138, 1181 (C.D. Cal. 2016); G.O.
Am. Shipping Comp. v. China COSCO Shipping, 2017 WL 6026959, at *4-5 (W.D. Wash. 2017).


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LLCs. . . . [A]s LLCs, these entities are deliberately provided with organizational flexibility, and

. . . need not function as a formally run corporation.” Linus v. Mark Line, 376 F. Supp. 3d 417,

428 (D.N.J. 2019); see Mark IV, 2014 WL 7073088, at *6 (no alter-ego jurisdiction where plaintiff

pointed to subsidiary LLC’s “failure to adhere to corporate formalities,” as “[i]n the realm of LLCs

. . . informality of organization and operation is both common and desired.”).

       To show “day-to-day dominion,” one would have expected Plaintiffs to point to a constant

and extraordinary level of communication between KPNV and Philips RS (or Philips NA) in which

KPNV instructed Philips RS and Philips NA on how to run their day-to-day businesses. Or that

Plaintiffs would show some embedded employee, operating Philips RA completely at KPNV’s

behest, or by frequent and constant intervention by KPNV into Philips RS’s or Philips NA’s

operational choices. Or even, at the very least, evidence demonstrating KPNV’s regular, granular

assessment of these entities’ decision-making. Despite extensive jurisdictional discovery and

multiple depositions—not to mention the millions of additional documents Plaintiffs have received

in merits discovery—Plaintiffs offer this Court nothing of the kind.

       A.      Jurisdictional Discovery Confirms that Neither Philips RS Nor Philips NA Is
               an Alter Ego of KPNV Under the Applicable Enterprise Factors.

       To meet their notoriously difficult burden, Plaintiffs advance the following:

      the Philips Group organizes itself and aspects of its financial reporting by Segments and
       Business Units, in which comparable products are grouped together (Renew. Br. at 36-38);

      certain non-KPNV employees report (directly or indirectly) to KPNV’s CEO (id. at 38-
       39);

      a handful of communications between Philips RS/Philips NA and the FDA that copied
       KPNV executives, mostly when addressing the recall (id.);

   
                    (id. at 40-42);




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   
                                                                               (not KPNV) (id. at 43-
       44);

   
                                         (id. at 44); and

      KPNV’s press releases sometimes promote products that have the Philips brand (id.).

       Even taken together, this evidence falls spectacularly short of showing that KPNV ever

exercised “pervasive control” over Philips RS’s or Philips NA’s day-to-day operations. When

Plaintiffs’ rhetoric and factual overstatements are stripped away, all that Plaintiffs have is the

control present and allowed in any ownership relationship. As the U.S. Supreme Court has held,

“monitoring of the subsidiary’s performance, supervision of the subsidiary’s finance and capital

budget decisions, and articulation of general policies and procedures” is entirely “consistent with

the parent’s investor status.” United States v. Bestfoods, 524 U.S. 51, 72 (1998); see Action Mfg.

v. Simon Wrecking, 375 F. Supp. 2d 411, 425 (E.D. Pa. 2005).

               1.      Factor 10: Plaintiffs Fail To Establish that KPNV Exercised Improper
                       Control.

       This Court has made clear that “[i]t is assumed to be the norm that a parent will have not

only . . . the potential to exercise control [over the subsidiary], but to exercise it to a substantial

degree[,]” all without creating an alter-ego relationship. Trinity, 2014 WL 1766083, at *16 n.9

(emphasis added). Plaintiffs’ scant evidence comes nowhere close to supporting their theory that

KPNV exceeded the “incidental control” that “naturally flows from . . . the parent-subsidiary

relationship[.]” Enterprise, 735 F. Supp. 2d at 323.

       Existence of Segments and Business Units Is Not Evidence of Improper Control.

Changing the subject away from the corporate separateness shown by intercompany agreements,

individualized bank accounts, separate balance sheets and income statements, and separate boards

of directors, Plaintiffs pivot to what they call “vertical strategic business units” that are part of an


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“integrated operating” model that “operate[s] across . . . legal boundaries.” (Renew. Br. at 36-37,

46.) Asking the Court to disregard the fact that the corporate form was respected, Plaintiffs argue

that “[t]he Recalled Devices may be manufactured by Philips RS, but management including the

tracking of financials are done on a cross-entity basis[,]” and “this vertical, cross-entity

management is apparent in the Philips Defendants’ financials[.]” (Id. at 37.) Plaintiffs never

explain why organizing an enterprise and reporting financial results based on comparability of

products and product lines somehow shows pervasive and improper control.44 For one thing,

Plaintiffs disregard (as discussed supra at 14) that IFRS requires the use of business segments

along product lines. (DX045; DX022 at 86 (Plaintiffs’ expert agreeing that “



                                      ”); Gammimo v. Verizon, 2005 WL 3560799, at *4 (E.D. Pa.

2005) (“subsidiaries are legally required” to abide by particular operating structure).)45 Reporting

on a business segment basis does not mean that the corporate form has not been followed, a point

Plaintiffs’ experts conceded when they agreed that KPNV needed to report by segment and that

they “                                                                            .” (DX022 at 116-

17; DX023 at 77-78; see also DX022 at 85-86




44
         Contrary to Plaintiffs argument otherwise, that “[KPNV] reports earnings on a consolidated
basis” (Renew. Br. at 44) does not weigh in favor of a finding of alter ego. See Deardorff v.
Cellular Sales of Knoxville, 2022 WL 309292, at *8 (E.D. Pa. 2022) (acknowledging that the
parent company’s CFO “compiles consolidated financial statements of [parent’s] subsidiaries” and
“the financial statements of the [the subsidiaries], are consolidated under the holding company for
tax return and financial reporting purposes, [b]ut this does not establish that [the parent] exercised
daily control over [the subsidiary].”; Reynolds v. Turning Point, 2020 WL 953279, at *1, *4 (E.D.
Pa. 2020) (no alter-ego jurisdiction over parent company that files consolidated income tax return
for all of its subsidiaries).
45
       Plaintiffs’ experts agreed that SRC was a material business segment for accounting
purposes under IFRS. (DX022 at 86-88, 117-18; DX023 at 58-59, 66.)


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       Plaintiffs’ strategy is merely to point to the existence of these Business Units and suggest

that, since some financial records were maintained and analyzed on a Business Unit level, “Philips

RS’s business is managed by SRC and Connected Care.” (Renew. Br. at 37-38.) Plaintiffs never

explain how this demonstrates pervasive control by KPNV, but in any event, Plaintiffs’ concept is

inherently nonsensical since SRC and Connected Care are not entities with employees but

organizational segments.46 It is thus no surprise that Plaintiffs never tell the Court that



                       As explained above, supra at 6-7, every month,



           . And                                                                         . (See supra

at 5.) That                                                                             , including to

understand the performance of the entire array of sleep and respiratory care products, hardly

demonstrates pervasive control or disregard of the corporate form.47



46
       Plaintiffs say that
                    .” (Renew. Br. at 37.)
                                                                                  Plaintiffs never
explain how this demonstrates KPNV’s control, let alone pervasive control, over either Philips NA
or Philips RS.
47
        Additionally, courts have rejected attempts to show an alter-ego relationship based on the
allegedly controlled subsidiary LLC’s informal management structure and lack of corporate
formalities. As one court explained, “[p]laintiff’s contentions with respect to the managerial and
ownership structure of [the entities] do not account for their designations as LLCs. . . . [A]s LLCs,
these entities are deliberately provided with organizational flexibility, and . . . need not function
as a formally run corporation.” Linus, 376 F. Supp. 3d 417 at 428; see Mark IV, 2014 WL 7073088,
at *6 (no alter-ego personal jurisdiction where plaintiff pointed to subsidiary LLC’s “failure to
adhere to corporate formalities,” as “[i]n the realm of LLCs . . . informality of organization and
operation is both common and desired”).


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       Plaintiffs’ position has no basis in the law. In Enterprise, this Court explained that “[a]

key fact in [In re Latex and Chocolate II] that resulted in the finding of alter-ego jurisdiction was

the failure to adhere to corporate boundaries,” and “[t]his key factor was particularly evidenced

in Chocolate Confectionary II, in which the court found alter-ego jurisdiction did not exist over

the two defendants who operated within the established corporate structure, but found alter-ego

jurisdiction existed over the defendant that failed to do so.” 735 F. Supp. 2d at 324 (emphasis

added). As the court in Chocolate II explained, plaintiffs must identify how “[the parent] use[d]

the [business units] to exert autocratic control over other members of the corporate group.” 641

F. Supp. at 392 (emphasis added). Plaintiffs in Chocolate II met this high threshold by showing,

as to one defendant, that the senior executives of the parent company “double[d] as both the leaders

of business units and as the heads of production activities.” Id. at 401 (emphasis added). With

respect to the other defendant, however, as this Court explained in discussing Chocolate II:

       Even though “the [other defendant] parent managed products, brand images, and
       operations through strategic business units that were constructed around product
       lines rather than along geographic or corporate boundaries . . . the court held that
       the operating subsidiary within the forum was not the alter ego of the parent,” as
       “the parent’s executive officers did not manage the day to day operations of the
       subsidiary, and the operating subsidiary exercised a significant degree of
       autonomy over its daily affairs.”

Enterprise, 735 F. Supp. at 321-22 (citing Chocolate II).

       Similarly, in Churchill v. Trinity, the court rejected plaintiffs’ argument that “the segment

structure by which the [defendants] do business . . . is proof that the subsidiaries are alter egos of

[the parent],” including plaintiffs’ reliance on “the use of employees who work for multiple

businesses in their segment and perform similar functions for each as evidence of an alter ego

relationship.” 2010 WL 11468358, at *5 (D. Mon. 2010). The court explained that, as here,

“[d]efendants have not tried to conceal their business structure by use of the segments,” and the

segmentation was “done for proper business purposes, such as . . . improving business efficiency.”


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Id.; see In re W. States Wholesale Natural Gas Antitrust Litig., 2009 WL 455653, at *9-13 (D.

Nev. 2009) (no alter-ego jurisdiction where parent “described itself as an integrated energy

company,” “integrate[d] the skills and assets of its business units to obtain optimal returns and

provide expansion opportunities,” “promulgat[ed] general policies for its subsidiaries,” and

received “daily reporting of information from [its subsidiary]”).48

       For these reasons, segmentation and organization around business units does not move the

needle on alter ego. Segment reporting and organization is “a

               ” and not “                                                         ” (DX022, at 86,




48
        Plaintiffs’ cases do not help them. In In re Latex Gloves, several employees of one
subsidiary were responsible for “management of the production of the product” at the plant of a
different subsidiary. 2001 WL 964105, at *6 (E.D. Pa. 2001). Directory Dividends does not even
discuss business units. Rather, the court there primarily relied on the “considerable overlap in the
officers and directors,” including that “eight officers of [the parent] are also officers and/or
directors of [its subsidiaries].” 2003 WL 21961448, at *4 (E.D. Pa. 2003). As explained below,
infra at 43-44, that is not true here. Likewise, Williams includes no discussion of business units,
and the court emphasized that “[the subsidiary] shared two of its four directors with [the parent],
including [the parent’s] CEO and its Director of Raw Material Procurement,” that “the [subsidiary]
did not convene any board meetings,” and that “[the parent] maintained daily contact with the legal
department of [the subsidiary] . . . and mandated that other departments submit regular financial
and performance reports as often as once per week.” 2019 WL 4888570, at *12 (Pa. Super. Ct.
2019). Again, no such facts exist here. In re CRT, which Plaintiffs incorrectly claim “examined”
the “Philips’ organizational structure (at issue here),” is inapposite in every way. (Renew. Br. at
36.) The CRT court was evaluating a summary judgment motion brought by KPNV and other
defendants (none of whom is named in this litigation) concerning claims of an alleged Sherman
Act conspiracy related to televisions that supposedly ran from 1995 to 2007. 2017 WL 5972721
(N.D. Cal. 2017). Plaintiffs’ own claim that the Philips Group’s organizational structure changed
beginning in 2012—five years after the end of the relevant period in CRT—by itself shows CRT’s
irrelevance here. In any event, given (a) the procedural differences (Plaintiffs here have the burden
of proving that personal jurisdiction exists over KPNV by a preponderance of evidence, not just
showing a triable issue of material fact for a jury), and (b) that CRT did not involve any of the
same U.S. subsidiary defendants—instead it concerned a joint venture—and did not concern SRC
or any business segment related to this litigation, CRT provides no support for Plaintiffs’ veil-
piercing argument. Significantly, the court in CRT declined to reach the question of alter ego,
noting that “the Court need not decide that question because the jury could find KPNV liable for
LPD’s [the joint venture’s] actions on a different theory—that LPD’s participation in the CRT
conspiracy was merely a continuation of KPNV’s participation.” Id.


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117; DX023, at 66.) In fact, this type of unremarkable “                                ” is utilized by

a number of “                     ” (e.g., Renew. Br. at 46, citing JX005), and courts reviewing that

type of business model have not found that it creates alter-ego jurisdiction. For instance,

Medtronic plc (a KPNV competitor) utilizes “[an] integrated operating model” (JX005) and

“functions in four operating segments,” with Medtronic Vascular Galway within one of those

segments. Ezell v. Medtronic, 2018 WL 1100901, at *1 n.1 (W.D. La. 2018). Yet, plaintiffs in

Ezell failed “to overcome the presumption of corporate separateness of Medtronic plc and

Medtronic Vascular Galway to warrant jurisdiction over Medtronic plc,” even though “[t]he

performance and major business plans of Medtronic Vascular Galway may be subject to review

by Medtronic plc,” and “[i]mportant actions taken by management of Medtronic Vascular Galway

are reported to Medtronic plc.” Id. at *7. The pertinent fact was that “Medtronic Vascular Galway

has independent responsibilities for the management of its business, including control over its day-

to-day operations and employees.” Id.49

       No Evidence KPNV Impermissibly Controlled Employees of Philips RS or Philips NA.

Lacking any meaningful overlap of directors, officers or employees between KPNV, on the one

hand, and Philips RS or Philips NA, on the other, Plaintiffs pretend that various employees were

involuntarily “conscripted” into doing KPNV’s bidding. (Renew. Br. at 38.)50 This argument is



49
        The “business and market structure” that Plaintiffs rely on as supposedly showing
pervasive control is utilized by other large companies (see JX005, at 28), with such structure not
resulting in alter ego personal jurisdiction. See, e.g., Smith v. Avon Products, 2019 WL 921461,
at *12 (N.D. Ala. 2019) (J&J’s subsidiary JJCI was not alter ego for jurisdiction, explaining that
“JJCI as a ‘business unit’ or ‘division’ of J&J does not demonstrate J&J’s control and dominion
over JJCI,” as “JJCI develops its own business strategies, while J&J examines those strategies on
a more global level in the context of the health of the company as a whole.”) (emphasis added).
50
        Plaintiffs incorrectly claim that Exhibit 1 to their brief is “a list of Royal Philips’ relevant
officers and directors.” (Renew. Br. at 6.) In fact, Exhibit 1 includes individuals employed by
Philips NA or Philips International B.V., not KPNV.


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a simple retread of the “integrated enterprise” and “joint employer” arguments rejected by this

Court in Enterprise. 735 F. Supp. 2d at 327-28 (citing United Elec., Radio & Machine Workers

v. 163 Pleasant St., 960 F.2d 1080, 1096 (1st Cir. 1992)).

       In any event, Plaintiffs fail to point to any evidence showing that KPNV “conscript[ed]

employees of [its] subsidiaries.” (Renew. Br. at 36.) The “support” for Plaintiffs’ argument

consists of reporting lines on organizational charts. (Id. at 38-39.) But reporting lines, including

lines that cross over to the parent company, are not probative of pervasive or even actual control,

much less compulsory enlistment by KPNV. It is well-established that the existence of “common

management” is insufficient for veil-piercing. RNC Sys. v. MTG, 2017 WL 1135222, at *5 (D.N.J.

2017); see Reynolds, 2020 WL 953279, at *4 (E.D. Pa. 2020) (“common corporate control” is “not

enough to overcome the presumption that wholly-owned subsidiaries are separate and distinct from

their parent companies”). The mere existence of a reporting relationship does not prove that KPNV

“dictate[d] every facet of [Philips RS’s or Philips NA’s] business[es]” or “routine matters of day-

to-day operation.” Ranza v. Nike, 793 F.3d 1059, 1074 (9th Cir. 2015); see Seltzer v. I.C. Optics,

339 F. Supp. 2d 601, 605 (D.N.J. 2004) (declining to find alter ego despite subsidiary employees

reporting “directly to” the parent company “on various management matters”).51

       Plaintiffs next point to the fact that employees from various entities



     . (Renew. Br. at 38.) This is yet another “reporting lines argument”; it too does not



51
         In both UHS and Chocolate II, the evidence was more than mere reporting lines, but instead
that “leaders of business and . . . heads of production activities” were placed on committees that
“exercise[d] centralized control over the day-to-day management of all” entities. Chocolate II,
641 F. Supp. 2d at 401 (emphasis added); UHS, 2015 WL 539736, at *15. As this Court stated,
those cases involved the “exercise of managerial power over the operations and functions of one
. . . group of subsidiaries by employees of a separate but affiliated corporation.” Enterprise, 735
F. Supp. 2d at 324-25.


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demonstrate pervasive control or that anyone at KPNV abused their position to exert undue

influence over Philips RS or Philips NA.52 As explained above,

                                                  . (DX009, at 91-92.)

                                                                   . (Id., at 92-93, 100.) This is

unremarkable and standard reporting, not control. Plaintiffs do not argue that

     had dual roles, i.e., that they exercised managerial control over both Q&R and also a

business’s operations (e.g., SRC).     Cf. Chocolate II, 641 F. Supp. 2d at 401 (“These dual

responsibilities of senior executives provide strong evidence of an alter ego relationship.”). While

some employees of

               (See, e.g., JX036-37, JX371, at 5 (“Q&R is independent of Philips’ businesses.”);

JX374, at 15 (“Q&R function is independent.”).) And this is precisely how the structure is

designed to work. These reporting lines thus reflect “operat[ion] within the established corporate

structure.” Enterprise, 735 F. Supp. 2d at 324.

       Turning to a more flamboyant tact, Plaintiffs claim that “Royal Philips has . . . stripped

hiring and firing power from its subsidiaries.” (Renew. Br. at 2.) But in their 50 pages of briefing,

based on 15 years’ worth of discovery, and with more than 100,000 employees at the Philips Group

every year, Plaintiffs point to one occasion where KPNV purportedly acted on its seconded hiring

and firing power. According to Plaintiffs, the

                                                  ” and

                                                          ” (Id. at 39) Even setting aside that




52
        See also Aug. 8, 2023 Hearing Tr. at 47 (“What’s important is not necessarily who was
reporting to who. It was the level of control they could exert over the person down the line . . . .
[I]in many multi-national corporations, somebody has to know what’s going on below, and it’s
more of a reporting thing, this is what’s happening here[.]”).


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               In fact,



                                      ” (JX354 (emphasis added).)54

       No Evidence of KPNV’s Day-to-Day Control. Plaintiffs’ assertion that the PBS is

evidence of KPNV’s “pervasive control” over all of its subsidiaries defies credulity and ignores

the operative legal standards. As here, where a group-wide policy sets minimum business

standards and does not supplant the subsidiary’s autonomy with respect to day-to-day decisions,

the policy is not evidence of “pervasive control.”

       For example, in Chocolate II, the court determined that there was no alter-ego relationship

despite the existence of “group-wide accounting, finance, and sales protocols,” because

“[u]niformity in finance procedure is a practical necessity for global conglomerates to monitor

corporate growth and maximize efficiency.” 641 F. Supp. 2d at 386. Furthermore—as is the case

with the PBS, see supra at 8-9—the parent in Chocolate II “encourage[d] subsidiaries to vary the

way in which corporate principles [were] applied in practice” and “to implement operating plans


53
        KPNV disclosed this fact to Plaintiffs more than eight months ago (in KPNV’s
jurisdictional interrogatory responses) and reiterated it again in its Rule 12(b)(2) brief in May 2023.
(JX015 (No. 18); ECF No. 1850 at 30 n.32.) Perhaps now realizing the absence of jurisdiction
over KPNV, Plaintiffs go back to their moving target playbook, suggesting that they intend to
move the target again: this time,
            (Renew. Br. at 13 n.9.) What claims they have against Philips International B.V. is left
unsaid, but after two-plus years of litigation, substantial jurisdictional and merits discovery, and
multiple amendments to their pleadings, the Philips Defendants would oppose any attempt to
further amend.
54
        Putting aside the fact that this has nothing to do with Philips RS, this event happened in
late in 2021, during a time where
                                             (JX096.)
                                                                            (Id.)


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at the local level.” Id. at 387; see Reynolds, 2020 WL 953279, at *3 (“[A]rticulation of general

policies and procedures do not establish an alter ego relationship.”); Deardorff, 2022 WL 309292,

at *7 (“[E]ven if Plaintiffs did show that [parent] directed these policies, they do not explain how

the employee handbooks transcend the bounds of the level of supervision present in typical parent-

subsidiary relationship.”).

       Although Plaintiffs identify the Quality Policy as an example of how KPNV supposedly

“controls its subsidiaries through mandatory policies” (Renew. Br. at 11), as Plaintiffs themselves

admit, the group-wide Quality Policy—a one-page document—merely “

           ” (Id.) As explained supra at 10-12, the




                   . (JX301, at 37-38; DX009, at 110-14.)

       Finally, in the post-recall-announcement world—in connection with a recall of

approximately 15 million devices around the globe—an LLC receiving assistance from its parent

companies hardly means that the LLC is the parent’s alter-ego. As described more fully supra at

18-21, KPNV provided assistance and support to Philips RS with its recall, but Philips RS executed

and managed the recall efforts. Various Philips RS and Philips NA employees were placed in

charge of different facets of the recall effort—including patient care, recall administration, testing,

etc.—and each provided updates to KPNV and the Head of Q&R throughout the process. Plaintiffs

point to no evidence that elevates KPNV’s assistance to its subsidiary into pervasive control over

Philips RS’s day-to-day operations.

       Plaintiffs deceptively suggest that “

                                                                .” (Renew. Br. at 39 (citing PX-C).)




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As their sole support, Plaintiffs point to an



                     (See PX-C at 5

                                                                                      ”).)




       (Id.)                                                        See Chocolate II, 641 F. Supp. 2d

at 386 (“As the controlling shareholder of [subsidiary], [parent] is entitled to . . . approve budgets.

These activities typify standard parent-subsidiary interactions and do not reflect daily, operational

control that is the sine qua non of an alter ego relationship.”).

       Similarly, with regard to the recall, Plaintiffs suggest KPNV involvement with the FDA

that simply did not exist. As reflected in DX040,



                               After the recall was well underway,

                                                (See DX027 (No. 20).) Plaintiffs fail to explain how

this limited involvement amounts to control, much less pervasive control.

               2.      Factor 2: Plaintiffs Cannot Identify a Single Shared Officer or Director
                       Between KPNV and Philips RS or Philips NA Who Acted Exclusively on
                       Behalf of KPNV.55

       To make a showing of pervasive control, Plaintiffs must first identify the KPNV executives

who allegedly were in charge of Philips RS’s and Philips NA’s day-to-day operations. Although

Plaintiffs vaguely claim that “[c]ommon officers and directors” exist “between Royal Philips and



55
        As to factor 1, KPNV does not contest that it indirectly owns Philips RS and Philips NA,
but “[o]ne hundred percent stock ownership . . . [is] not alone sufficient to establish an alter ego
relationship.” Zombeck v. Amada, 2007 WL 4105231, at *8 (W.D. Pa. 2007).


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its U.S. subsidiaries” (Renew. Br. at 43 (emphasis added)), they nowhere identify a single officer

or director that KPNV actually shares—or ever shared—with Philips RS. (In fact, as described

below for Factor 5, Plaintiffs do not identify a single shared employee between KPNV and Philips

RS.) The evidence shows there are none. (Compare JX041 & JX133 with JX015 (No. 18).)

        As for the other relationships, Plaintiffs seek to establish “day-to-day control” through

(1)

                                                                                  (Renew. Br. at 43.)

This minimal overlap is a far cry from the level of infiltration required to find an alter-ego

relationship. See Poe v. Babcock, 662 F. Supp. 4, 6 (M.D. Pa. 1985) (no alter-ego jurisdiction

despite “several” overlapping directors, because “[w]here a parent company constitutes one

hundred percent of the stockholders of the subsidiary, it is to be expected that there will be directors

which are common to the boards of both”); Croyle v. Texas Eastern, 464 F. Supp. 377, 379 (W.D.

Pa. 1979) (no alter-ego jurisdiction despite “significant over-lapping of directors and officers”);

Savin v. Heritage Copy Prod., 661 F. Supp. 463, 470 (M.D. Pa. 1987) (overlap of four directors

“is no more significant than is to be expected in a situation where a holding company owns a

majority interest in a subsidiary”).56

        Even beyond that fatal defect, Plaintiffs bear the high burden of additionally showing that

any overlapping officers or directors “purportedly acting for the benefit of the subsidiary

corporation were—in actuality—acting solely for the benefit of the parent corporation.” Trinity




56
       Plaintiffs’ efforts to diminish KPNV’s status as a holding company is premised on their
inaccurate claim that it is unlike “the typical-parent subsidiary relationship (holding company
model) that the Court saw in Enterprise.” (Renew. Br. at 5.) But as the Court stated of the parent
in Enterprise, “ERAC–Missouri is not a pure holding company, because it is a provider of a variety
of administrative services to the operating subsidiaries and entered into national car rental
contracts.” 735 F. Supp. 2d at 314 n.15. There is nothing atypical about the KPNV model.


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v. Greenlease, 2014 WL 1766083, at *15 (W.D. Pa. 2014) (emphasis added). And even then, the

operative question is whether the KPNV actor was exerting undue influence and control over the

subsidiary for KPNV’s exclusive benefit. Id. (“Since courts generally presume that the directors

are wearing their ‘subsidiary hats’ and not their ‘parent hats’ when acting for the subsidiary, it

cannot be enough to establish liability that dual officers and directors made policy decisions and

supervised activities at the [subsidiary].” (quoting Bestfoods, 524 U.S. at 69)); UHS v. United

Health, 2013 WL 12086321, at *8 (M.D. Pa. 2013) (plaintiffs must show that any shared “directors

continue to represent the parent when serving on the board of an affiliate,” rather than merely

having multiple responsibilities). Setting aside the minimal overlap Plaintiffs identify at the

Philips NA level (none at the Philips RS level), Plaintiffs have not shown that either overlapping

individual exerted undue influence and control over Philips NA for the exclusive benefit of KPNV.

               3.     Factor 7: Plaintiffs Cannot Identify a Single Manager or Supervisor
                      Between KPNV and Either Philips RS or Philips NA.

       Plaintiffs do not identify a single individual with a managerial or supervisory role who was

exchanged between, or shared by, KPNV and either Philips RS or Philips NA. (See Renew. Br. at

45-46.) The best Plaintiffs can muster is to imply that KPNV executives were de facto managers

because certain Philips RS or Philips NA employees had reporting lines that reached KPNV’s

CEO. (Id.)

       KPNV as owner, however, is entitled to financial reports and reports on Philips RS’s

operations. As explained above, reporting lines thus have zero legal traction. At best, they

“demonstrate mere affiliation” between individuals and not “the functional relationship” between

them. Licea v. Curaco Drydock, 952 F.3d 207, 214 (5th Cir. 2015). The alter-ego inquiry demands

a showing of day-to-day control, but Plaintiffs say nothing about how these reporting lines were

utilized—or, as their burden requires, abused. “The simple fact that there are lines on a chart



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connecting various persons does not make the requisite showing” that KPNV “w[as] directing”

these subsidiaries’ businesses. E.I. du Pont. v. Agfa-Gavaert NV, 335 F. Supp. 3d 657, 672 (D.

Del. 2018).57 The mere existence of a reporting relationship does not prove that KPNV “dictate[d]

every facet of [Philips RS’s or Philips NA’s] business[es]” or “routine matters of day-to-day

operation.” Ranza v. Nike, 793 F.3d 1059, 1074 (9th Cir. 2015).58

               4.      Factor 5: Plaintiffs Do Not Identify a Single Shared Employee Between
                       KPNV and Philips RS or Philips NA.

       Plaintiffs do not identify a single individual who was employed at any level by KPNV and

Philips RS at the same time. (Renew. Br. at 44-45.) Nor do they provide an example of a non-

executive or non-managerial employee shared between KPNV and Philips NA.59

               5.      Factors 3 & 4: Plaintiffs Fail to Establish Any Control with Respect to
                       the “Philips” Branding.

       Plaintiffs suggest that the two factors related to branding—whether there is a “unified

marketing image” or “uniform insignias, trademarks, and logos”—“heavily” suggest the existence

of an alter-ego relationship, because (i) Philips Group employees’ email addresses use the

“philips.com” domain, (ii) Philips RS and Philips NA use the “Philips” logo, and (iii) KPNV



57
       Plaintiffs also contradict themselves by admitting that KPNV “delegated” “essential
functions” to management employees within the SRC business, while simultaneously maintaining
that KPNV retained pervasive authority over these functions. (Renew. Br. at 9-10.)
58
        See also, e.g., Seltzer v. I.C. Optics, 339 F. Supp. 2d 601, 605 (D.N.J. 2004) (declining to
find alter-ego relationship despite subsidiary employees reporting “directly to” the parent company
“on various management matters”); Chocolate II, 641 F. Supp. 2d at 392 (no alter ego where
managers of subsidiary reported directly to executives of parent because “[subsidiary’s] managers
oversee its operations on a daily basis”).
59
        For
         (Renew. Br. at 43.) But so what? It is a “well established principle [of corporate law]”
that individuals “holding positions with a parent and its subsidiary can and do ‘change hats’ to
represent the two corporations separately, despite their common ownership.” Bestfoods, 524 U.S.
at 69; see Action Mfg., 375 F. Supp. 2d at 424 (stating that it is “normal for a parent and subsidiary
to have identical directors and officers”).


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supposedly “touted its role in command of Philips RS and its other U.S. subsidiaries.” (Renew.

Br. at 44.) This is a flawed effort from inception.

       First, “use of [the] same email address . . . by the employees of the parent corporation and

its subsidiaries does not show that [the parent] exercises greater than normal control over its

subsidiaries,” as “this is a common practice.” Rice v. First Energy, 339 F. Supp. 3d 523, 538 n.9

(W.D. Pa. 2018). Second, with respect to Philips RS, Plaintiffs conveniently omit that it operated

under its pre-acquisition name—Respironics—for the vast majority of the relevant period. It was

not until 2020—more than a decade after it was acquired by KPNV—that “Philips” was included

in Respironics’ name. And courts do “not undermine fundamental corporate theory by attributing

a subsidiary’s contacts to its parent simply because both operate under the same brand name.”

Lapine v. Materion, 2016 WL 3959081, at *5 (E.D. Pa. 2016).

       Even assuming arguendo that the entities projected a “unified public image,” for that to be

indicative of control for alter-ego purposes, Plaintiffs still need to provide evidence of an improper

“degree of control” by KPNV over Philips RS’s and Philips NA’s marketing. See UHS, 2015 WL

539736, at *7-8 (unified marketing factor weighed in favor of control where “decision to

implement this centralized marketing plan was reached” by “exclu[ding] [] subsidiary entities’

boards of directors or management teams” (emphasis added)). As this Court stated in Enterprise,

“Enterprise Rent-A-Car is portrayed as a single brand to the public, but this evidence does not

demonstrate the necessary control by defendant parent over the subsidiaries.” 735 F. Supp. 2d at

323. Here, Plaintiffs do not even claim—much less point to evidence showing—that Philips RS

and Philips NA’s marketing was controlled by KPNV.

       Nor does the Brand License Agreement help Plaintiffs. Subsidiaries, including Philips RS

and Philips NA, may use different branding,




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                                                          .” (JX11, at 2-3.) Philips RS did just that

here. As Plaintiffs are well aware—considering they append these examples to their master

complaints (see, e.g., Economic Loss Complaint Exs. 44, 47-49, 55, 77, 102, 105) 60—Philips RS

often used its own logo on its branding in addition to the Philips logo. See Vacaflor v. Penn. State,

2014 WL 3573593, at *5 (M.D. Pa. 2014) (use “of a parent corporation’s logo with the subsidiary

corporation’s in a common marketing image does not demonstrate the level of control sufficient

to render the subsidiary the alter ego of the parent corporation”); JX285-296. Even further, Philips

RS trademarks its own logos with respect to its products and uses those logos in its branding, and

those marks are not shared across corporate boundaries.61

        Plaintiffs’ claim that KPNV “touted its role in command of Philips RS and its other U.S.

subsidiaries” grossly misrepresents the underlying exhibits, which are merely press releases

advertising products and a product manual. (See JX43-44, 132.) Although KPNV has referred to

itself or Philips generally in discussing its subsidiaries’ products, “courts have rejected a plaintiff’s

attempt to rely on a press release in which the parent company consolidated its subsidiary’s actions

with its own.” Rice, 339 F. Supp. 3d at 539; MacQueen v. Union Carbide, 2014 WL 6809811, at

*7 (D. Del. 2014) (“[A] statement like this in an SEC filing—in which a parent corporation is in

some way consolidating by description its subsidiary’s efforts and its own—is not atypical, and

certainly does not suggest that . . . the parent corporation has become indistinguishable from the




60
        These exhibits are JX156-JX159, JX162, JX181, DX038, and DX039.
61
       See, e.g., JX294 (“Trilogy is a trademark of Respironics, Inc. AVAPS is a trademark of
Respironics, Inc.”); JX295, at 2 (“REMstar, Whisper Swivel, Encore Pro, and Encore Pro
SmartCard are trademarks of Respironics, Inc.”); JX296, at 2 (same).


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subsidiary.”). Moreover, Plaintiffs incorrectly conflate Philips Healthcare, which is a now-defunct

Philips segment, with KPNV. (See JX021, at 309 (Philips Healthcare is a “[r]eportable segment”).)

               6.      Factor 6: Neither Philips RS Nor Philips NA Share the Same Sales and
                       Distribution System with KPNV.

       Even assuming that some form of shared services could itself demonstrate pervasive

control, the PBS on which Plaintiffs rely says nothing about what services KPNV, Philips RS or

Philips NA actually provide to one another—much less the terms under which any such services

were provided—such that there would be any basis to infer that “the provision of these services

from a parent to a subsidiary runs afoul of normal corporate behavior.” Trinity, 2014 WL 1766083,

at *16; see Pearson v. Component Tech., 247 F.3d 471, 485 (3d Cir. 2001)(observing that “courts

have refused to pierce the veil even when subsidiary corporations . . . accept administrative support

from the parent”); C. States, 230 F.3d at 945 (“Parent corporations regularly provide certain

services to their subsidiaries . . . . [S]uch standard services are not sufficient minimum contacts to

support the exercise of jurisdiction.”).      Courts distinguish between situations where “the

subsidiaries paid for the administrative services provided by the parent” (which is completely

proper) and situations in which a parent or affiliate “provides corporate services without cost to

the subsidiaries” (which may weigh in favor of control). Compare Hooper, 2016 WL 7212586, at

*8, with Action Mfg., 375 F. Supp. 2d at 425 (“This reimbursement indicates that [the subsidiary

and parent] are maintaining their corporate separateness and observing corporate formalities.”).

As explained above at 12, the entities within the Philips Group have entered into a variety of formal

agreements providing that every entity is charged (and counterclaims) for any services it receives

from (or provides to) any other entity within the Philips Group. And, these agreements are all

expressly designed to act on an arms’ length basis.




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               7.      Factor 8: No Evidence that Philips RS or Philips NA Perform Functions
                       KPNV Would Otherwise Perform.

       Plaintiffs fail to show that Philips RS and Philips NA are performing functions KPNV

would otherwise have to perform itself. Instead, this is a case where “the holding company could

simply hold another type of subsidiary,” and consequently “imputing jurisdictional contacts would

be improper.” Action Mfg., 375 F. Supp. 2d at 422. Plaintiffs’ sole legal support for this factor

having any weight is inapposite. In In Re MTBE, the court recognized that “although jurisdictional

contacts are imputed when a subsidiary is engaged in activities that the parent would have to

undertake itself, that rule does not typically apply when the parent company is a holding company.”

2021 WL 3371938, at *16 (S.D.N.Y. 2021). But there, because “LAC was not merely a generic

holding company, but rather was used by [LAC’s parent company] . . . to advance a specific

business objective . . . the fact that [LAC] did not maintain its own substantive operations” did not

weigh against an alter ego relationship with LAC’s subsidiary, particularly given the “nearly

complete overlap among the officers and directors” between LAC and the subsidiary at issue. Id

at *14, *16.

       Unlike in MTBE, KPNV is not an intermediary holding company being used by some

ultimate parent to conduct its affairs. Even if KPNV had “expressly taken responsibility for

Quality and Regulatory efforts,” it is not correct that the “daily activities” carried out by Philips

RS and Philips NA employees would fall onto KPNV in their absence. KPNV’s role in Q&R

(high-level policy setting and dealing with specific, serious issues as they are reported to KPNV)

differs dramatically from the role of its subsidiaries (establishing, implementing and enforcing

specific Quality Management Systems on a day-to-day basis). (See JX301 at 13 (“



                             ); JX374 at 15 (“                                  .”).) In the absence



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of Philips RS and Philips NA, KPNV “could [and would] simply hold another type of subsidiary.”

MTBE, 2021 WL 3371938, at *16; JX15 at 38-44. The exhibits upon which Plaintiffs rely show

clearly defined roles for each entity in the Philips Group, not interchangeable functions that would

be performed by KPNV in its subsidiaries’ absence. (See JX5 at 8

                                       ); JX24 at 10 (

                           )

       The evidence corroborates that KPNV’s existence is “to fulfill two goals of a holding

company: (1) transferring knowledge to a subsidiary from the holding company, to the holding

company from a subsidiary, and between subsidiaries and (2) improving coordination among the

different subsidiaries.” Arch v. Am. Tobacco, 984 F. Supp. 830, 839 (E.D. Pa. 1997). This type

of “influence is consistent with a typical holding company/subsidiary relationship.” Id.62

                                          CONCLUSION

       With the sole exception of the single claim for negligent recall, and only for those Plaintiffs

who filed suit asserting that claim originally in Pennsylvania, the Court should dismiss all claims

against KPNV for lack of personal jurisdiction.




62
        Plaintiffs do not dispute that KPNV does not use Philips RS or Philips NA as “marketing
division[s] or as [] exclusive distributor[s]” (Factor 9). (Renew. Br. at 47.) As a result, this factor
also weighs against a finding of alter ego. See Deardorff., 2022 WL 309292, at *6 & n.10.


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Dated: September 5, 2023              Respectfully submitted,

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